
798 So.2d 835 (2001)
Linda BASS, Appellant,
v.
METRO DADE COUNTY DEPARTMENT OF CORRECTIONS AND REHABILITATION, now known as the Miami-Dade County Department of Corrections and Rehabilitation, a Department within Miami-Dade County, Appellee.
No. 3D01-510.
District Court of Appeal of Florida, Third District.
October 31, 2001.
*836 Linda Bass, in proper person.
Robert A. Ginsburg, County Attorney, and Lee Kraftchick, Assistant County Attorney, for appellee.
Before COPE, GODERICH and SHEVIN, JJ.
PER CURIAM.
Linda Bass appeals the dismissal of her wrongful termination action. We affirm.
Following her termination from employment in 1990, Bass instituted and fully pursued her civil service administrative remedies. Having concluded those administrative proceedings, Bass is not now entitled to bring an independent action in Circuit Court to challenge the propriety of the discharge. City of Miami Springs v. Barad, 448 So.2d 510, 511 (Fla. 3d DCA 1983). Additionally, there is no action in Florida for the common law tort of wrongful termination. Wiggins v. Southern Mgmt. Corp., 629 So.2d 1022 (Fla. 4th DCA 1993).
Notwithstanding this determination, this affirmance is without prejudice to Bass resubmitting an application to the Department of Corrections for re-employment in light of her re-certification.
Affirmed.
